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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
                                NEW ORLEANS DIVISION

MAIGAN FRANCIS                                    § CIVIL ACTION NO: 5: 19-CV-14315
                                                  §
                                                  §
VERSUS                                            § SECTION: A/2
                                                  §
                                                  §
AMERICAN FEDERATION FOR                           §
CHILDREN, INC.                                    § DISTRICT JUDGE JAY C. ZAINEY


                                           AFFIDAVIT

STATE OF TEXAS

COUNTY OF BRAZORIA

               BEFORE ME, the undersigned authority, a Notary Public in and for the County and

State aforesaid, personally came and appeared MAIGAN FRANCIS ("Appearer"), who, being by

me first duly sworn, deposed, and said:

               Appearer is a resident of Rosharon, Texas.

               Appearer further certifies that:

       1. She was hired by the American Federal for Children, Inc., for the position of

           Implementation Director for the State of Louisiana on February 29, 2016.

       2. Lindsey Rust served as her immediate supervisor after she was hired.

       3. In December of 2016 she met with John Schilling for her yearly performance review

           and was told she was doing a good job and she would receive a raise of $3,000.00.

       4. Sometime in early 2017, Kelly Bottger became her immediate supervisor.

       5. In December 2017 she met with John Schilling for her yearly performance review and

           was again told that she was doing a good job and would receive another raise of




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    $3,000.00.

 6. At no time prior to May 2018 was she told there problems in her job performance that

    needed improvement.

 7. In May 2018, she announced her pregnancy to her co-workers and supervisors,

    including Kelly Bottger. She informed Bottger she would be taking maternity leave.

 8. Soon after her announcement, she noticed a distinct change in Kelly Bottger' s attitude

    and demeanor towards her. On multiple occasions Bottger made comments to her that

    Bottger did not understand how Appearer was going to be able to work with a newborn.

 9. In July 2018, she attended a meeting with Kelly Bottger and Paul Dauphin, the purpose

    of which she was told was to discuss who would cover her work duties while she was

    on maternity leavy as well as work to be performed upon her return. She recorded the

    meeting with her phone so that she would have the information for future reference.

 10. In July 2018, she went on maternity leave for the birth of her son.

 11. She returned to her full-time employment from her maternity leave on October 1, 2018.

 12. Upon her return, she noticed that Bottger began making accusatory statements

    regarding her work and was behaving in a generally antagonistic manner towards her.

    This caused her to suffer increased anxiety and emotional distress.

 13. On one occasion Bottger blamed Appearer and told her that she considered it to be an

    act of subordination by Appearer that another AFC employee attended a conference in

    Biloxi, after Bottger told her no one else should attend. Bottger blamed Appearer for

    this despite the fact that neither Appearer or Bottger had any authority over the other

    employee and that employee had cleared and approved her attendance with her

    supervisor.




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 14. It was clear to Appearer that Bottger was creating issues with her work performance

    purposefully and blaming her for it.

 15. On October 23, 2018, she attended a meeting in which Bottger blamed her for

    something for which she was not responsible. When she corrected the factual

    inaccuracies, Bottger became belligerent.

 16. Because the harassment had reached an unbearable level, she complied with AFC's

    employee policies and filed a complaint of harassment by sending an email to Lindsey

    Rust, her former supervisor who she believed to be Bottger' s supervisor as well.

 17. She delivered her complaint by email at 1:04 p.m. on October 23, 2018, and informed

    Rust that she believed she was being targeted and harassed. Ex. A, Francis 001-002.

 18. She spoke with Rust by phone shortly after sending the email to Rust. During the call,

    she reported Bottger's harassment of her and the fact that she believed that Bottger was

    harassing her as a result of her pregnancy and maternity leave.

 19. She received no further information or follow up regarding her complaint.

 20. On November 1, 20 I 8, she was called to a meeting with John Schilling where Schilling

    informed her that her employment was being terminated due to the fact that AFC had

    chosen to "go in another direction." She was offered a severance package if she would

    agree to release any claims against AFC and agree to keep the terms of the severance

    agreement confidential. Ex. B. Francis 359-362.




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                    �---      (')     Maigan Francis



              SWORN TO AND SUBSCRIBED before me, Notary, on this 15 111 day of June,

  2021, in�fJ'i:..t County, Texas.




                                     NOTARY PUBLIC




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